Case 2:23-cv-01049-JWH-KES Document 325-1 Filed 05/17/24 Page 1 of 3 Page ID
                                 #:9613


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      Attorneys for Plaintiff Entropic
  8   Communications, LLC
  9                       UNITED STATES DISTRICT COURT
 10                     CENTRAL DISTRICT OF CALIFORNIA
 11
      ENTROPIC COMMUNICATIONS,             Case No. 2:23-cv-1049-JWH-KES
 12   LLC,                                 (Lead Case)
 13                     Plaintiff,         Case No. 2:23-cv-01050-JWH-KES
                                           (Related Case)
 14           v.
                                           DECLARATION OF VINCENT J.
 15   COX COMMUNICATIONS, INC., et         GALLUZZO IN SUPPORT OF
      al.,                                 ENTROPIC’S OPENING CLAIM
 16                                        CONSTRUCTION BRIEF
                        Defendants.
 17                                        Hearing Date:         July 16, 2024
                                           Hearing Time:         10:00 a.m.
 18                                        Courtroom:            9D (Santa Ana)
 19

 20   ENTROPIC COMMUNICATIONS,
      LLC,
 21
                        Plaintiff,
 22
              v.
 23
      COMCAST CORPORATION, et al.,
 24
                        Defendants.
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              DECLARATION OF VINCENT J. GALLUZZO IN SUPPORT OF
                ENTROPIC’S OPENING CLAIM CONSTRUCTION BRIEF
      318666190.4
Case 2:23-cv-01049-JWH-KES Document 325-1 Filed 05/17/24 Page 2 of 3 Page ID
                                 #:9614


  1                     DECLARATION OF VINCENT J. GALLUZZO
  2            I, Vincent J. Galluzzo, declare as follows:
  3            1.    I am an attorney duly licensed to practice law in the State of North
  4   Carolina, the State of Florida, and the District of Columbia, and I have been admitted
  5   pro hac vice to practice before this Court. I am a partner at the law firm of K&L
  6   Gates LLP, and I am counsel of record for Plaintiff Entropic Communications, LLC
  7   (“Entropic”) in the above-entitled action. This declaration is based on personal
  8   knowledge of the matters set forth in this declaration and based on documents on file
  9   with the Court and maintained in the ordinary course of business as part of the Firm’s
 10   client files in this action. If called upon to testify regarding these matters, I could and
 11   would do so competently.
 12            2.    Attached as Exhibit A is a true and correct copy of U.S. Patent No.
 13   8,223,775.
 14            3.    Attached as Exhibit B is a true and correct copy of U.S. Patent No.
 15   8,284,690.
 16            4.    Attached as Exhibit C is a true and correct copy of U.S. Patent No.
 17   10,135,682.
 18            5.    Attached as Exhibit D is a true and correct copy of a June 7, 2010
 19   Response to Office Action regarding Application No. 10/675,566.
 20            6.    Attached as Exhibit E is a true and correct copy of the Transcript of the
 21   Deposition of John Holobinko taken on May 9, 2024 in this action.
 22            7.    Attached as Exhibit F is a true and correct copy of the Declaration of
 23   Dr. Sandeep Chatterjee Regarding Claim Construction submitted by Defendants in
 24   this action.
 25            8.    Attached as Exhibit G is a true and correct copy of U.S. Patent No.
 26   9,178,765 from Application No. 13/948,401.
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              DECLARATION OF VINCENT J. GALLUZZO IN SUPPORT OF
                ENTROPIC’S OPENING CLAIM CONSTRUCTION BRIEF
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Case 2:23-cv-01049-JWH-KES Document 325-1 Filed 05/17/24 Page 3 of 3 Page ID
                                 #:9615


  1            9.    Attached as Exhibit H is a true and correct copy of the Transcript of the
  2   Deposition of Dr. Sandeep Chatterjee taken on May 10, 2024 in this action.
  3            I declare under penalty of perjury under the laws of the United States and
  4   California that the foregoing is true and correct.
  5

  6            Executed on May 17th, 2024 in Charlotte, North Carolina.
  7

  8                                                         /s/ Vincent J. Galluzzo
  9                                                         Vincent J. Galluzzo
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              DECLARATION OF VINCENT J. GALLUZZO IN SUPPORT OF
                ENTROPIC’S OPENING CLAIM CONSTRUCTION BRIEF
      318666190.4
